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 8                              UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    RALPH COLEMAN, et al.,                                 No. 2:90-cv-0520 KJM SCR P
12                              Plaintiffs,                  ORDER
13            v.
14
      GAVIN NEWSOM, et al.,
15
                                Defendants.
16

17           On July 12, 2024, the court ordered the parties to show cause in writing why it “should not

18    initiate formal proceedings to appoint a temporary receiver to assume responsibility, with this

19    court’s oversight, for completion of all tasks necessary to implementation of the remedy in this
20    action” and set the order to show cause for hearing on August 20, 2024. July 12, 2024 Order at

21    15, ECF No. 8330. In that order, the court discussed several areas of defendants’ on-going non-

22    compliance with the remedies required in this action and set out reasons for its tentative

23    conclusion that appointment of a temporary receiver to provide “professional, neutral leadership,

24    external to the named defendants and their institutions, will be necessary to complete remediation

25    on a reasonable timetable, as an alternative to the serial contempt proceedings the court is

26    otherwise prepared to convene.” Id. at 14.

27           On August 2, 2024, the parties filed a joint response to the order to show cause. ECF No.

28    8347. The parties jointly nominated the receiver in Plata v. Newsom, Case No. C01-1351 JST

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 1    (N.D. Cal.), Clark Kelso, to serve as temporary receiver in this action. Id. at 3-5. Separately,

 2    defendants represented they did “not concede that appointment of a receiver other than

 3    Mr. Kelso” was “appropriate.” Id. at 6. They contended they “have made great strides in

 4    establishing a robust mental health care system” and that the court would not “be able to make the

 5    requisite findings to support the appointment of a receiver.” Id. at 8, 11. They also contended

 6    that the court should take evidence and “cross-examine the court experts (to the extent the court

 7    intends to rely on their findings in support of a receiver’s appointment).” Id. at 12. Plaintiffs

 8    contended (1) the court would be required to make factual findings to justify appointment of a

 9    receiver regardless of the parties’ agreement; (2) “[t]here is a grave and immediate threat of harm

10    to the plaintiff class . . . ‘as a result of defendants’ ongoing non-compliance’ with various orders”;

11    (3) the court’s continued reliance on “less-extreme measures” would be futile because the court

12    has exhausted all such measures; (4) defendants’ “intransigence” over time weighs in favor of a

13    receivership; and (5) no further hearing would be required because the record amply supports

14    appointment of a receiver. Id. at 11-16.

15           Since receiving the parties’ response to the order to show cause, the court has taken the

16    following steps:

17                   Conducted the August 20, 2024 hearing on the Order to Show Cause, see ECF

18                    Nos. 8360, 8366, and a further show cause hearing on August 21, 2024, see ECF

19                    Nos. 8364, 8394.
20                   Signaled its intention to appoint a technical advisor to assist the court in “applying

21                    relevant organizational principles to the designation of a receiver in this case and,

22                    particularly, in assessing objectively whether the Plata receiver can serve as a

23                    separate and independent receiver in this action,” August 22, 2024 Order at 2,

24                    ECF No. 8368; see also Reporter’s Transcript of August 21, 2024

25                    Videoconference Proceedings, at 4, ECF No. 8394, and thereafter, without

26                    objection from either party, appointed Eric Douglas to serve as technical advisor

27                    with the costs of his time to be borne by defendants, Aug. 27, 2024 Order, ECF

28                    No. 8377. Without any objection from the parties, the court has continued to

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 1                   consult the technical advisor as it considers other candidates for temporary

 2                   receiver, after the Plata Receiver withdrew his name from consideration. See,

 3                   e.g., November 6, 2024 Order, ECF No. 8457 (directing payment of technical

 4                   advisor’s fees for services rendered in September and October 2024).

 5                  Authorized discussions between the Special Master and the Plata Receiver

 6                   concerning the possibility of the latter’s appointment as Receiver in this action.

 7                   As noted, Receiver Kelso subsequently withdrew his name from consideration for

 8                   such appointment. See Sept. 24, 2024 Order at 1, ECF No. 8406;

 9                  Accepted the parties’ nomination of a second candidate for temporary receiver,
10                   ECF No. 8442, subsequently identified as Martin Hoshino, and met in camera

11                   with Mr. Hoshino, who then advised the court he was not available to serve as

12                   temporary receiver but agreed voluntarily to meet with the parties to identify other

13                   possible candidates. ECF No. 8463.

14                  Conducted a special status conference on December 5, 2024 with the parties to

15                   review its communications with Mr. Hoshino, ECF No. 8482, and signaled one

16                   option it was considering was to meet in camera with Michael Wilkening, the

17                   temporary receiver candidate identified following Mr. Hoshino’s meetings with

18                   the parties, ECF No. 8483. At the December 5, 2024 status conference, plaintiffs

19                   expressed support for the court’s meeting with Mr. Wilkening while defendants
20                   represented they would not agree to Mr. Wilkening’s appointment and renewed

21                   their request for an evidentiary hearing and an opportunity for further briefing in

22                   the event the court continues to move forward with appointment of a temporary

23                   receiver.

24                  Met with Mr. Wilkening on December 9, who has indicated he will report back to

25                   the court to advise whether he wishes to be considered as the receiver in this case.

26           In its July 12, 2024 order, cited above, the court reviewed several areas in which

27    defendants have not achieved constitutionally required remediation and in which required

28    remediation has been delayed and “stalled in a seemingly endless cycle of conflict and delay.”

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 1    ECF No. 8330 at 3-7. The court also reviewed the several factors it considers in deciding whether

 2    to appoint a receiver. Id. at 8-16. That order is incorporated in this order in full.

 3           With respect to the remedial areas discussed in the July 12, 2024 order, the record has

 4    since been updated with the following relevant facts:

 5                  The staffing vacancy report defendants filed on November 27, 2024, shows

 6                   institutional fill rates for psychiatrists and clinical social workers above the 90

 7                   percent rate required by the court’s orders. See ECF No. 8477 at 17-21. That

 8                   report also shows defendants have not yet achieved the required fill rate among the

 9                   other three mental health classifications, nor have defendants achieved the required
10                   fill rates among psychiatrists, psychologists, or clinical social workers in the

11                   California Department of Corrections and Rehabilitation (CDCR) Psychiatric

12                   Inpatient Programs (PIPs). Id.

13                  Defendants remain out of compliance with at least ten court-ordered suicide

14                   prevention measures. See Reporter’s Transcript of Proceedings at 39-40, ECF No.

15                   8433; see also Nov. 27, 2024 Order, ECF No. 8478.

16                  Data remediation will not be completed by the end of 2024; the court has set a new

17                   deadline of May 1, 2025. See Dec. 6, 2024 Order, ECF No. 8485. Completion of

18                   data remediation is an essential threshold step to finalization of the continuous

19                   quality improvement tool (CQIT) and, ultimately, transition to defendants’ self-
20                   monitoring and the end of federal court oversight. See, e.g., January 4, 2023

21                   Order, ECF No. 7695; see also, e.g., September 3, 2020 Order at 10, ECF No.

22                   6846.

23    Viewed as whole, the record currently contains sufficient evidence of non-compliance for the

24    court to move forward with appointment of a temporary receiver.1

             1
               As noted, defendants requested an opportunity to cross-examine court experts,
      presumably the Special Master and members of his team, to the extent the court relies on the
      Special Master’s reports to support appointment of a temporary receiver. Defendants’ request
      perpetuates their persistent unwillingness to accept that the Special Master is an arm of the court,
      not a party to this litigation. He and his team do not come within the provisions of Federal Rule
      of Evidence 706. The parties have ample opportunity to file objections, including evidence as

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 1            Moreover, defendants’ position with respect to appointment of a temporary receiver

 2    continues to reflect their ongoing commitment to an endless cycle of litigation and delay: they

 3    agreed to appointment of the Plata Receiver on terms the parties had agreed to, and not to appeal

 4    any order appointing the Plata Receiver on the specific terms agreed to by the parties, but

 5    requested an evidentiary hearing if the court did not enter the precise order the parties jointly

 6    requested. ECF No. 8347. They signaled unqualified agreement to the second jointly proposed

 7    candidate. See ECF No. 8442. It cannot be true that the standards have been met for appointment

 8    of a temporary receiver in this action but only if defendants consent to the appointment of a

 9    particular person as temporary receiver on specific terms. This type of attempted “gotcha”
10    litigation strategy has marked defendants’ approach to compliance with their constitutional

11    obligations for too long, causing incalculable and unnecessary delay and expenditure of

12    resources. See generally ECF No. 8330 at 9-14. Without closer court management of the case,

13    there would be no end in sight. Under these circumstances, the court remains convinced it has

14    “no choice but to conclude that professional, neutral leadership, external to the named defendants

15    and their institutions, will be necessary to complete remediation in this action on a reasonable

16    timetable.” Id. at 14.

17            In an abundance of caution, the court will allow the parties to file closing briefs on their

18    respective positions concerning appointment of a temporary receiver, without regard to any

19    particular person the court may appoint to serve as Receiver. In their briefs, the parties shall also
20    address the question of durability of the remedy, including but not limited to (1) how long after

21    full implementation of the remedy they believe the court should retain jurisdiction to ensure the

22    remedy is durable; and (2) if there is any lawful reason not to provide that the temporary

23    receiver’s tenure include a period of durability.

24    /////


      necessary, to each report from the Special Master prior to the court’s consideration of such
      reports. See Dec. 13, 1995 Order of Reference, ECF No. 640; see also July 29, 2019 Order, ECF
      No. 6230. Defendants’ unwarranted request to cross-examine the Special Master and his experts
      arguably provides further support for appointment of a temporary receiver with full authority to
      implement the remedy in this case, although the court does not rely on it in moving forward.

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1           In accordance with the above, IT IS HEREBY ORDERED that the parties shall file the

2    briefs required by this order within thirty (30) days from the date of this order.

3    DATED: December 13, 2024.



                                                 SENIOR UNITED STATES DISTRICT JUDGE




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